         Case 3:18-mj-02333-BGS Document 1 Filed 05/10/18 PageID.1 Page 1 of 2           ·--·~--.                          ~
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNI
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                                                                                  L       MAY 1 0 2018
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                                                                              r, -:-:----·---                      I
 UNITED STATES OF AMERICA,                       )   Magistrate Doc ~u~'i,\               1   ',_7:~:-;:----J
                                                 )                                _      '"'· '' J..,:; rp;~ ,- .· r
                          Plaintiff,             )                                    ~-·-·~-- J/J~:::f:!_=~-2.
                                v.               )   COMPLAINT FOR VIOLATION OF:
                                                 )   Title 8, USC 1325 Illegal Entry
                                                 )   (misdemeanor)
                                                 )
                                                 )
 Noe Celso REYES-Garcia,                         )
                                                 )
                                                 )
                                                 )
                                                                            18MJ2333
                                                 )
        Defendant.
 ~~~~~~~~~~~~~-)
        The undersigned complainant being, duly sworn, states:
 That on or about May 9, 2018, within the Southern District of California, defendant, Noe Celso
 REYES-Garcia, an alien, did knowingly elude examination and inspection by Immigration
 Officers, a misdemeanor; in violation of Title 8, United States Code, Section 1325(a)(2).

 And the complainant further states that this complaint is based on the attached probable cause
 statement, which is incorporated herein by reference.




                                                                                  -
                                                     SIGNATURE OF COMPLAINANT
                                                     David R. Steiman
                                                     Border Patrol Agent

SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE,                            /1
THIS lOthDAYOFMay, 2018.                              ~/
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                                                     United States Magistrate Judge
         Case 3:18-mj-02333-BGS Document 1 Filed 05/10/18 PageID.2 Page 2 of 2


CONTINUATION OF COMPLAINT:
Noe Celso REYES-Garcia



                            PROBABLE CAUSE STATEMENT

On May 9, 2018, United States Border Patrol Agent A. Nevares was performing assigned duties
within the Chula Vista Border Patrol Station's area of responsibility. At approximately 7:30
AM, Border Patrol Agent M. Martinez advised via agency radio that he observed two
individuals walking west in an area commonly known to United States Border Patrol agents as
"East Gold Mine." Agent Nevares responded to the area and after a brief search, encountered
two individuals attempting to conceal themselves in a large shrub. This area is located
approximately three miles east of the Otay Mesa, California Port of Entry and one quarter mile
north of the United States/Mexico International Boundary. Agent Nevares identified himself as
a United States Border Patrol agent and conducted an immigration inspection. Both
individuals, including one later identified as the defendant Noe Celso REYES-Garcia, admitted
to being citizens of Mexico without any immigration documents that would allow them to
legally enter or remain in the United States legally. At approximately 8:00 AM, Agent Nevares
placed both individuals including REYES under arrest. Record checks revealed that REYES
was most recently removed or deported from the United States on May 8, 2018.

The defendant was advised of his Miranda rights. The defendant stated that he understood his
rights and was willing to answer questions without an attorney present. The defendant admitted
that he is a citizen of Mexico illegally present in the United States. The defendant admitted he
illegally entered the United States on May 9, 2018.
